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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS

JACQUELINE RACENER, et al., individually and )
on behalf of all others similarly situated,  )
                                             )
          Petitioner,                        )
                                             )                Case 3:20-cv-01075
    v.                                       )
                                             )
DAVID K. OVERSTREET AND OVERSTREET )
2020                                         )
                                             )
          Respondents.                       )

            PETITIONER’S RULE 41 NOTICE OF VOLUNTARY DISMISSAL

       Petitioner, Jacqueline Racener, respectfully moves this Court to dismiss this matter without

prejudice pursuant to Federal Rule of Civil Procedure 41 and states as follows:

       1.      On September 30, 2020, Petitioner filed a Rule 224 Petition in St. Clair County

Circuit Court in Illinois, requesting specific and limited discovery related to a series of intrusive

and unwanted text messages and images sent to her mobile phone. Petitioner sought this discovery

because she believed these communications to her were unlawful, but she needed additional pre-

suit discovery because she was not able to identify with reasonable certainty who was responsible

for sending these messages given that they were sent from a number she was unfamiliar with.

       2.      On that same day, Petitioner filed a Temporary Restraining Order directed at

Respondents.

       3.      On October 12, 2020, Respondents removed this case to this Court. ECF No. 1.

       4.      On October 13, 2020, Petitioner filed a motion for remand. ECF No. 5.

       5.      On October 28, 2020, this Court denied Petitioner’s motion for remand and ordered

Petitioner to file a complaint “on or before November 10, 2020[.]” ECF No. 18.




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       As such, Petitioner respectfully requests that this Court immediately dismiss this matter

without prejudice pursuant to Federal Rule of Civil Procedure 41.


       Dated: November 4, 2020                     THE DRISCOLL FIRM, P.C.

                                            By:    /s/ John J. Driscoll
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                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on November 4, 2020, the foregoing document was
electronically filed with the Clerk of Court to be served by operation of the Court’s CM/ECF
system upon all counsel of record.


                                                  /s/ John J. Driscoll




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